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                                     UNITED STATES DISTRICT COURT
                                                DISTRICT OF NEW JERSEY
                                                      (973) 776-7700
              CHAMBERS OF                                                                       U.S. COURTHOUSE
                                                                                                50 WALNUT STREET, ROOM 2060
       JAMES B. CLARK, III                                                                      NEWARK, NJ 07102
 UNITED STATES MAGISTRATE JUDGE




                                                     November 25, 2019


                                                      LETTER ORDER


        Re:      Padgett v. RiT Technologies LTD, et al.
                 Civil Action No. 16-4579 (KM)

        Dear Counsel:

        Presently before the Court is a motion by Plaintiffs Martin and Hershel Smilovich (collectively

“Plaintiffs”) for leave to file a Second Amended Complaint [Dkt. No. 39]. Defendants Amit Mantsur,

Yossi Ben Harosh, Eran Erov and Motti Hania (collectively “Defendants”1) oppose Plaintiffs’ motion

[Dkt. No. 40]. For the reasons set forth below, Plaintiffs’ motion to amend [Dkt. No. 39] is DENIED.

        The proposed Second Amended Complaint in this putative class action asserts claims under the

federal securities laws against the individual Defendants, as senior officers of RiT, and RiT itself, arising

from allegedly false or materially misleading statements made by Defendants in press releases and public

filings with the Securities and Exchange Commission (the “SEC”). 2 Plaintiffs claim that the allegedly


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   As to Defendant Rit Technologies Ltd. (“RiT” or “the Company”), the Court noted in its Opinion granting Defendants’
 prior motion to dismiss that “RiT, as an entity, has not appeared in this case” and it is “an open question whether RiT was
 properly served.” Dkt. No. 34 at n. 5. Although RiT did not join in the individual Defendants’ previous motion to dismiss,
 the Court, finding that RiT was named only in Count I of the Amended Complaint and that the allegations related to RiT
 did “not distinguish between the individual Defendants and RiT,” exercised its discretion to dismiss the Amended
 Complaint in its entirety as to all Defendants, including RiT. Although Count I of Plaintiff’s proposed Second Amended
 Complaint continues to include allegations against RiT, RiT has still not appeared in this matter and there is no indication
 that RiT has been served.
 2
   This Order includes only the background of this matter as relevant to the present motion. A more thorough recitation
 may be found in the Court’s February 22, 2019 Opinion granting Defendants’ motion to dismiss the Amended Complaint
 [Dkt. No. 34].
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false and materially misleading statements made by Defendants violate Sections 10(b) and 20(a) of the

Securities and Exchange Act of 1934 (the “Exchange Act”), and Rule 10b-5 promulgated thereunder.

        RiT is an Israeli-based company that provides intelligent infrastructure management and indoor

optical wireless technology solutions to enhance security and network utilization for workspace

environments. RiT’s shares traded publicly on the NASDAQ Capital Market exchange until the issue was

delisted on July 1, 2016. RiT CIS Ltd. (“RiT CIS”) was a distributer of RiT products and services in the

Commonwealth of Independent States region (“CIS”3). Plaintiffs’ claims in this matter arise from

Plaintiffs’ contention that Defendants materially misled investors by failing to disclose the full extent of

RiT’s reliance on an agreement with RiT CIS pursuant to which RiT CIS was granted a non-exclusive

right to distribute RiT products and services in the CIS region (the “Distributor Agreement”).

        On March 3, 2015, RiT filed a Form 6-K with the SEC (the “2015 6-K”) announcing it had entered

into the Distributor Agreement with RiT CIS. See 2015 6-K, Dkt. No. 28-3. Specifically, the 2015 6-K

explained that “RiT CIS was granted a non-exclusive right to distribute, sell, and/or maintain RiT’s

products in the territory of the Russian Federation and the CIS.” Second Amended Complaint (“SAC”),

Dkt. No. 39-2 at ¶ 18 (citing 2015 6-K at 2). The 2015 6-K, which was signed by Defendant Erov, stated

explicitly that RiT CIS is a Russian company, affiliated with RiT’s controlling shareholder, Stins Coman

Incorporated (“Stins Coman”). A copy of the Distributor Agreement was attached to the 2015 6-K. See

2015 6-K at Ex. 99.1.

        On April 22, 2015, RiT filed with the SEC a Form 20-F for the 2014 fiscal year (“2014 20-F”),

signed by Defendant Hania. See 2014 20-F, Dkt. No. 28-4. In the 2014 20-F, Defendants Hania and Erov

signed certifications pursuant to the Sarbanes-Oxley Act of 2002 attesting to the disclosure of all fraud.

Id. The 2014 20-F referred to RiT CIS an additional non-exclusive distributor, stating in part the following:


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     The Commonwealth of Independent States includes Armenia, Belarus, Kazakhstan, Moldova, Russia, Tajikistan,
     Turkmenistan, Ukraine, and Uzbekistan.
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                   [I]n 2015 we appointed RiT CIS Ltd., or RiT CIS, a Russian company
                   affiliated with Stins Coman, as an additional non-exclusive distributor
                   of our products in Russia and the CIS.
                   ...

                   Recent Major Business Developments

                   Below is a summary of the major business developments in RiT since
                   January 1, 2014:

                   Distributor Agreement with RiT CIS. In efforts to realign and improve
                   our sales in the CIS market, we entered into a Distributor Agreement
                   dated January 6, 2015, with RiT CIS Ltd., a Russian company affiliated
                   with Stins Coman (“RiT CIS”), whereby we designated RiT CIS as our
                   additional and non-exclusive distributor in said territory’ (See “Item 7.B
                   — Related Party Transactions” below).

2014 20-F at 15. The 2014 20-F disclosed that Stins Coman beneficially owned a majority of RiT’s

ordinary shares and that some members of RiT’s Board of Directors were affiliated with Stins Coman. Id.

at 10.

         On December 7, 2015, RiT issued a press release entitled “RiT Strengthens Its Contractual

Networking in Russia and CIS” (the “2015 Press Release”). See 2015 Press Release, Dkt. No. 28-5. The

2015 Press Release, which was attached to the Form 6-K that RiT filed with the SEC on December 14,

2015, referred to RiT CIS as RiT’s “Distributor in Russia” and stated the following:

                   [RiT] announced today that RiT CIS Ltd.-its distributor in Russia (“RiT
                   CIS”), had formed [a] strategic alliance with several major IT-
                   companies in Russia.
                   ...

                   RIT CIS LTD., is an official distributor of RiT Technologies,
                   specializing in creating Converged Infrastructure Management
                   Solutions and physical connections in Russia and CIS.

Id.

         According to Plaintiffs, a series of statements made by RiT throughout 2016 progressively

revealed the “true nature” of RiT’s relationship with RiT CIS. On February 11, 2016, RiT issued a press


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release that described RiT CIS as “its major distributor in Russia and the CIS region” and stated that RiT

CIS was delaying payments to RiT, adversely impacting RiT’s cash flow. SAC at ¶ 35. On this news,

shares of RiT fell $0.60 per share. On April 20, 2016, RiT issued another press release announcing that

the collection of overdue debts from RiT CIS was progressing more slowly that planned, and that

Defendant Mantsur, the CFO of RiT, was resigning. On this news, shares of RiT fell $0.32 per share.

Another press release on May 10, 2016, announced that RiT had not made any further progress in

collecting the overdue debt from RiT CIS. On this news, shares of RiT fell $0.04 per share.

       In the proposed Second Amended Complaint, Plaintiffs contend that the statements from the 2015

6-K, the 2014 20-F, and the 2015 Press Release as set forth above were materially false and misleading

because they failed to disclose that:

                   (1) rather than just an ‘additional’ and ‘non-exclusive’ CIS distributor, RiT CIS
                   was RiT Technologies’ by far largest customer since no later than January 1,
                   2015, constituting between 30% and 80% of RiT Technologies’ business
                   worldwide and virtually [RiT’s] only CIS customer; and (2) RiT CIS was vital
                   to the continued viability of RiT Technologies . . . .
SAC at ¶ 23.

       The initial Complaint in this matter was filed on July 28, 2016. See Dkt. No. 1. Upon consent of

Defendants, Plaintiffs filed an Amended Complaint on April 16, 2018. See Dkt. No. 23. On June 15, 2018,

the individual Defendants filed a motion to dismiss the Amended Complaint pursuant to Federal Rule of

Civil Procedure 12(b)(6). See Dkt. No. 28. The Court granted Defendants’ motion to dismiss without

prejudice to the filing of a “properly supported motion to amend within 45 days.” See Dkt. Nos. 34, 35.

Plaintiffs subsequently filed the present motion to amend.

       Pursuant to Federal Rule of Civil Procedure 15(a), “a party may amend its pleading only with the

opposing party’s written consent or the court’s leave” and “[t]he court should freely give leave when

justice so requires.” The decision to grant leave to amend rests within the sound discretion of the trial

court. Zenith Radio Corp. v. Hazeltine Research Inc., 401 U.S. 321, 330 (1970). In determining a motion
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for leave to amend, Courts consider the following factors: (1) undue delay on the part of the party seeking

to amend; (2) bad faith or dilatory motive behind the amendment; (3) repeated failure to cure deficiencies

through multiple prior amendments; (4) undue prejudice on the opposing party; and/or (5) futility of the

amendment. See Great Western Mining & Mineral Co. v. Fox Rothschild LLP, 615 F.3d 159, 174 (3d

Cir. 2010) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962)). In addition, “[t]he Third Circuit has

consistently emphasized the liberal approach to pleading embodied by Rule 15.” Endo Pharma v. Mylan

Techs Inc., 2013 U.S. Dist. LEXIS 32931, at *4 (D. Del. Mar. 11, 2013). The Court should only deny

leave when these factors “suggest that amendment would be ‘unjust’. . . .” Arthur v. Maersk, Inc., 434

F.3d 196, 203 (3d Cir. 2006).

       Defendants, in opposition to Plaintiffs’ motion, contend that the proposed amend is futile. An

amendment will be considered futile if it “is frivolous or advances a claim or defense that is legally

insufficient on its face.” Harrison Beverage Co. v. Dribeck Imps., Inc., 133 F.R.D. 463, 468 (D.N.J. 1990)

(citations omitted). In determining whether an amendment is insufficient on its face, the Court employs

the same standard as in a Rule 12(b)(6) motion to dismiss. In re Burlington Coat Factory Sec. Litig., 114

F.3d 1410, 1434 (3d Cir. 1997) (citation omitted). Under a Rule 12(b)(6) analysis, the question is not

whether the movant will ultimately prevail, and detailed factual allegations are not necessary to survive

such a motion. Antoine v. KPMG Corp., 2010 WL 147928, at *6 (D.N.J. Jan. 6, 2010). If a proposed

amendment is not clearly futile, then denial of leave to amend is improper. Meadows v. Hudson County

Bd. of Elections, 2006 WL 2482956, at *3 (D.N.J. Aug. 24, 2006).

       When ruling on a motion to dismiss under Rule 12(b)(6), a court must “accept as true all [factual]

allegations in the complaint and all reasonable inferences that can be drawn therefrom, and view them in

the light most favorable to the plaintiff.” Kanter v. Barella, 489 F.3d 170, 177 (3d Cir. 2007)

(quoting Evancho v. *490 Fisher, 423 F.3d 347, 350 (3d Cir. 2005)). Ordinarily, it is sufficient


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to plead facts that do no more than raise an allegation to the level of plausibly warranting relief. See Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007) (to survive

a motion to dismiss, a complaint must contain “enough facts to state a claim to relief that is plausible on

its    face”).   However,    in   cases   alleging     securities   fraud,   plaintiffs   must   “satisfy   the

heightened pleading rules     codified    in”    the     Private    Securities    Litigation     Reform     Act

(“PSLRA”). Institutional Inv'rs Grp. v. Avaya, Inc., 564 F.3d 242, 252 (3d Cir. 2009).

         “[T]o restrict abuses in securities class-action litigation,” In re Suprema Specialties, Inc. Secs.

Litig., 438 F.3d 256, 276 n.8 (3d Cir. 2006) (internal quotation marks omitted), the PSLRA requires that

the complaint must “specify each statement alleged to have been misleading, the reason or reasons why

the statement is misleading, and, if an allegation regarding the statement or omission is made on

information and belief, the complaint shall state with particularity all facts on which that belief is

formed,” id. at 276 (quoting 15 U.S.C. § 78u–4(b)(1)(B)). This standard “requires plaintiffs to plead the

who, what, when, where and how: the first paragraph of any newspaper story.” Avaya, 564 F.3d at 253

(internal quotation marks omitted). A complaint must also “state with particularity facts giving rise to a

strong inference that the defendant acted with the required state of mind,” U.S.C. § 78u–4(b)(2)(A),

specifically “scienter,” which is defined in this context as a “knowing or reckless” mental state “embracing

intent to deceive, manipulate, or defraud.” Avaya, 564 F.3d at 252 (internal quotation marks omitted).

         To state a claim under Section 10(b), a plaintiff must allege “(1) a material misrepresentation or

omission, (2) scienter, (3) a connection between the misrepresentation or omission and the purchase or

sale of a security, (4) reliance upon the misrepresentation or omission, (5) economic loss, and (6) loss

causation.” City of Edinburgh Council v. Pfizer, Inc., 754 F.3d 159, 167 (3d Cir. 2014) (citations omitted).

In granting Defendants’ previous motion to dismiss, the Court found that Plaintiffs had failed to

sufficiently plead the first two elements. In the proposed Second Amended Complaint, Plaintiffs have


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included additional factual allegations in an attempt to remedy the deficiencies previously identified by

the Court. The Court will now address each element in turn.

       A. Material Misrepresentation or Omission

       According to Plaintiffs, Defendants’ public statements were materially false and/or misleading in

that they did not adequately describe: (1) the nature of the Distributor Agreement; or (2) RiT’s overall

reliance on RiT CIS, and by extension, Stins Coman,

       A statement or omission is materially misleading if “there is ‘a substantial likelihood that the

disclosure of the omitted fact would have been viewed by the reasonable investor as having significantly

altered the ‘total mix’ of information available’” to that investor. Matrixx Initiatives, Inc. v. Siracusano,

563 U.S. 27, 38, 131 S.Ct. 1309, 179 L.Ed.2d 398 (2011) (quoting Basic v. Levinson, 485 U.S. 224, 231-

32, 108 S.Ct. 978, 99 L.Ed.2d 194 (1988) ); In re Amarin Corp. PLC Sec. Litig., 689 F. App'x 124, 129

(3d Cir. 2017).

       Courts considering motions to dismiss have often observed that materiality is a fact-specific issue,

better resolved by the fact finder. See In re Adams Golf, Inc. Sec. Litig., 381 F.3d 267, 274 (3d Cir. 2004)

(“Materiality is ordinarily an issue left to the factfinder and is therefore not typically a matter for Rule

12(b)(6) dismissal.”); Siracusano v. Matrixx Initatives, Inc., 585 F.3d 1167, 1178 (9th Cir. 2009)

(citing Basic, 485 U.S. at 236, 108 S.Ct. 978) (“The Supreme Court has rejected the adoption of a bright-

line rule to determine materiality” because the analysis requires “delicate assessments of the inferences a

reasonable shareholder would draw from a given set of facts and the significance of those inferences”)

(internal quotations omitted); Weiner v. Quaker Oats Co., 129 F.3d 310, 317 (3d Cir. 1997) (“[T]he

emphasis on a fact-specific determination of materiality militates against a dismissal on the pleadings.”).

“Only if the alleged misrepresentations or omissions are so obviously unimportant to an investor that

reasonable minds cannot differ on the question of materiality is it appropriate for the district court to rule


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that the allegations are inactionable as a matter of law.” Adams Golf, 381 F.3d at 275 (internal quotations

omitted) (emphasis in original).

       In dismissing Plaintiffs’ Amended Complaint, the Court found that “[t]he misrepresentations and

omissions alleged . . . are either so obviously unimportant to an investor that reasonable minds could not

differ on the question of materiality, or are not actually misleading at all, because they would not

affirmatively lead investors in the wrong direction as a result of their incompleteness.” Dkt. No. 34 at p.

10. The Court first addressed Plaintiffs’ contention that Defendants’ public statements did not adequately

describe the nature of the Distributor Agreement. Citing to Plaintiffs’ allegations that RiT’s public

statements which described RiT CIS “‘an additional non-exclusive distributor’ must have concealed RiT

CIS’s true status as RiT’s ‘major’ distributor,” the Court noted that Defendants’ “[f]ailure to use a

particular adjective or form of words does not equate to an actual misrepresentation,” and found that

because the 2014 20-F included a description of the Distributor Agreement under the heading “‘Recent

Major Business Developments,’ [a] reasonable investor would necessarily read the 2014 20-F disclosure

of the [D]istribut[or] [A]greement as a ‘major’ development.” Id. at p. 10-11.

       As to Plaintiffs’ claim that Defendants did not adequately describe RiT’s overall reliance on RiT

CIS, the Court found that although “Plaintiffs imply that the description of RiT CIS as an additional

distributor and non-exclusive one, though accurate, misled investors,” Plaintiffs had failed to plead any

non-conclusory facts in support of that inference. Id. at p. 11. Specifically, the Court noted the absence of

any allegations by Plaintiffs regarding the nature or size of RiT’s other distributors, the amount of business

the Distributor Agreement totaled in relation to other distributors, or that RiT CIS, “although billed as a

nonexclusive distributor, was de facto an exclusive one.” Id. Furthermore, the Court found that the

Amended Complaint did not “quantify or explain the importance to an investor of RiT CIS being (or not

being) the largest CIS distributor among a group of smaller ones, even assuming that is true.” Id. Finally,


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turning to Plaintiffs’ claim that Defendants were trying to conceal their reliance on transactions involving

Stins Coman, the Court found that public documents cited by Plaintiffs “repeatedly disclose that Stins

Coman was a related party, and specify in detail its status as the controlling shareholder of RiT.” Id.

       Plaintiffs, in their proposed Second Amended Complaint, have attempted to remedy the foregoing

deficiencies previously identified by the Court through the addition of factual allegations regarding the

amount of RiT’s revenue generated by RiT CIS. According to Plaintiffs, these additional factual

allegations, obtained through interviews with confidential witnesses alleged to be former RiT employees,

demonstrate that:

                    (a) RiT CIS was already [RiT’s] largest and by far most important customer in
                    2014, and the relationship expanded exponentially in 2015;
                    (b) [t]he percentage of [RiT’s] 2014 and 2015 sales attributable to RiT CIS was
                    between 30%-80% of total RiT Technologies’ sales; and
                    (c) RiT CIS’ purchases of [RiT] services totaled $3-12 million per year, while
                    the next largest clients . . . purchased only $500,000 in services.

SAC at ¶25. Plaintiffs contend that these additional facts render Defendants’ public statements materially

false and/or misleading because they failed to disclose that: “(1) rather than just an ‘additional’ and ‘non-

exclusive’ CIS distributor, RiT CIS was RiT Technologies’ by far largest customer . . . and virtually

[RiT’s] only CIS customer; and (2) RiT CIS was vital to the continued viability of RiT Technologies.”

SAC at ¶ 23.

       While the additional factual allegations regarding the overall revenue generated by RiT CIS in

relation to that generated by RiT’s other clients arguably address the deficiencies identified by the Court

as to Plaintiffs’ latter contention that Defendants’ public statements did not sufficiently convey the

importance of the Distributor Agreement to the continued viability of RiT, they do little to address the

shortcomings outlined in Plaintiffs’ former contention that Defendants’ classification of RiT CIS as an

“additional” and “non-exclusive” distributor did not adequately describe the nature of the Distributor

Agreement. Indeed, it remains true that Defendants did describe the Distributor Agreement as a “major
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business development” and included a copy of the Distributor Agreement with their public filings, and it

appears to the Court that Plaintiffs’ additional factual allegations fail to demonstrate that Defendants’

public statements were misleading. However, the Court need not determine whether the Second Amended

Complaint sufficiently pleads materiality because, as set forth below, the Court finds that Plaintiffs have

failed to plead scienter.

        B. Scienter

        Plaintiffs contend that because Defendants “must have been aware of the fact the RiT CIS

generated at least 30-50% of [RiT’s] business and that Stins Coman-related customers generated half of

[RiT’s] sales,” their public statements describing RiT CIS as an “additional” and “non-exclusive”

distributor were so false and misleading that they could not lead to any other conclusion than that

Defendants’ “knowingly sought to keep the critical nature of RiT CIS’s relationship with [RiT] under

wraps.” SAC at ¶¶ 33-34.

        To sufficiently plead scienter under the PSLRA’s heightened pleading rules, a complaint must

state with particularity facts giving rise to a “strong inference” that the defendants acted with intent to

deceive, manipulate, or defraud. 15 U.S.C. § 78u-4(b)(2)(A); see Rahman v. Kid Brands, Inc., 736 F.3d

237, 241–42 (3d Cir. 2013) (citing Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 313, 127

S.Ct. 2499, 168 L.Ed.2d 179 (2007)). A “strong inference” of scienter exists “only if a reasonable person

would deem the inference of scienter cogent and at least as compelling as any opposing inference one

could draw from the facts alleged.” Tellabs, 551 U.S. at 324, 127 S.Ct. 2499. To support the inference,

plaintiffs may rely on facts that show motive and opportunity to commit fraud, or otherwise, “facts

constituting circumstantial evidence of either reckless or conscious behavior.” In re Advanta Corp. Sec.

Litig., 180 F.3d 525, 530 (3d Cir. 1999) (quoting In re Time Warner Inc. Sec. Litig., 9 F.3d 259, 269 (2d

Cir. 1993)).


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        In dismissing Plaintiffs’ Amended Complaint, the Court addressed Plaintiffs’ overarching

contention that the inference of scienter arises because Defendants’ public statements “were so clearly

false and misleading that they could not have been uttered without intent to defraud.” Dkt. No. 34 at p.

13. This contention, the Court found, was just the sort of “conclusory allegation[] of motive and

opportunity” which does not satisfy the PSLRA’s heightened standards. Id. Furthermore, the Court found

that:

           Even assuming that scienter could be concluded from the facts as pled in the Amended
           Complaint, an alternative plausible inference is that the Defendants believed that their
           public statements accurately reflected the facts when they were filed in March-April
           2015. The Distribut[or] Agreement itself was included with RiT’s public filings, it was
           described as a “major business development,” and the nature of the Stins Coman
           relationship was disclosed. Under the Tellabs standard, the allegation of scienter fails
           because there are nonculpable inferences that are at least as compelling as the inference
           that Defendants acted with scienter.

Id. (citing Tellabs, 551 U.S. at 324; Avaya, 564 F.3d at 269 (finding scienter requires “a practical judgment

about whether, accepting the whole factual picture painted by the Complaint, it is at least as likely as not

that defendants acted with scienter.”)).

        In the proposed Second Amended Complaint, Plaintiffs have added factual allegations to support

their assertion that Defendants were aware of RiT’s alleged dependence on RiT CIS and have clarified

their contention that Defendants’ reason and motive for failing to disclose RiT CIS’s status as RiT’s

“largest customer” was that “investors would dislike the risk created by [RiT’s] business being so heavily

dependent on a single customer” and that “[t]he market, in general, and [RiT’s] shareholders in particular

would look askance – or would, at a minimum, be wary of [RiT’s] future prospects when its by far largest

distributor . . . was an entity affiliated with [RiT’s] controlling shareholder.” SAC at ¶33.

        However, while the additional facts pled by Plaintiffs in the proposed Second Amended Complaint

arguably strengthen the likelihood that scienter “could be concluded from the facts as pled,” the alternative

plausible inference that Defendants believed their public statements accurately reflected the facts when
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they were made remains at least as compelling as the inference that Defendants acted with scienter.

Although Plaintiffs have strengthened their allegations that the Distributor Agreement was indeed “major”

and that RiT’s continued viability was heavily dependent on RiT CIS, it remains true that Defendants’

public statements included a copy of the Distributor Agreement itself, described the Distributor

Agreement as a “major business development,” and disclosed RiT’s relationship with Stins Coman.

Despite Plaintiffs’ efforts to demonstrate that Defendants’ statements were the product of deceptive intent,

it appears to the Court to be at least as likely as not that Defendants harbored no such intent and that their

public statements represented an accurate portrayal of the circumstances surrounding the Distributor

Agreement as Defendants viewed them at that juncture. Thus, considering the facts alleged in the proposed

Second Amended Complaint holistically, the Court finds that Plaintiffs have failed to satisfy the PSLRA’s

requirement that there be a strong inference that Defendants acted with scienter. Accordingly, because the

Court finds that Plaintiffs have failed to plead scienter, the proposed Second Amended Complaint is futile

and Plaintiffs’ motion to amend [Dkt. No. 39] is therefore DENIED.4

          IT IS SO ORDERED.

                                                                       s/ James B. Clark, III
                                                                     JAMES B. CLARK, III
                                                                     United States Magistrate Judge




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     Although the proposed Second Amended Complaint includes a second cause of action under Section 20(a) of the Exchange
     Act, liability under Section 20(a) depends on there being an underlying violation of the Exchange Act. City of Edinburgh,
     754 F.3d at 168. Because Plaintiffs have failed to plead such a violation, the Section 20(a) claim is futile.

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